 1                                                       The Honorable Christopher M. Alston
                                                                                  Chapter 13
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 8                         UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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     IN RE:
10                                                  Case No. 24-12397 – CMA
     Gary Rosenthal,
11                                                  Adv. No. 25-01010-CMA
                                Debtor.
12                                                  Chapter: 13
     ____________________________________
13
     Gary Rosenthal,
14                                                  DECLARATION OF CHRISTINA L.
                                Plaintiff,          HENRY REGARDING BOND FOR
15                                                  PRELIMINARY INJUNCTION
              v.
16
     Defendant NewRez, LLC, d/b/a/ Shellpoint
17   Mortgage Services, LLC, Buda Hill, LLC,
     and Eastside Funding, LLC
18
                                Defendant.
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     DECLARATION OF CHRISTINA L. HENRY                            DEVLIN LAW FIRM LLC
     REGARDING BOND FOR                                           1526 Gilpin Avenue
     PRELIMINARY INJUNCTION                                       Wilmington, DE 19806
                                                                  Telephone: (302) 449-9010

     Case 25-01010-CMA       Doc 42     Filed 02/24/25   Ent. 02/24/25 15:55:57   Pg. 1 of 3
 1   I, Christina L. Henry declare as follows:

 2         1.      I am the attorney for the Plaintiff Gary Rosenthal, I have personal knowledge

 3   of the facts stated in this declaration, and I am competent and willing to testify to the truth if
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     called upon to do so.
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           2.      On January 31, 2025, Plaintiff Gary S. Rosenthal filed this adversary
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     proceeding against Buda Hill, LLC, Eastside Funding, LLC and NewRez, LLC dba
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     Shellpoint Mortgage Services, LLC (“Defendants”) seeking a declaratory judgment
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 9   regarding Gary Rosenthal’s ownership interest in the property located at 20228 23rd Pl NW,

10   Shoreline, WA 98177-2327, and as clarified in the Amended Complaint filed on February
11   18, 2025 (Dkt No. 34), also a permanent injunction, quiet title, recovery of a preferential
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     transfer under 11 U.S.C. 547 or in the alternative, recovery of the property and funds paid to
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     NewRez, LLC under Chapter 5 bankruptcy powers.
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           3.      The Court entered an order on February 21, 2025 (Dkt No. 41) ordering the
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16   Plaintiff to provide appropriate security (i.e., a bond) under Federal Rule of Civil Procedure

17   65(c), made applicable by Federal Rule of Bankruptcy Procedure 7065.

18         4.      In compliance with that order, the Plaintiff has obtained Injunction Bond No.
19   CSC-305592C from Colonial Surety Company (“Colonial”), in the amount of $35,000.00. A
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     true and correct copy of the Bond is attached to the Motion as Exhibit A.
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     THIS DECLARATION IS MADE UNDER PENALTY OF PERJURY UNDER THE LAWS
22   OF THE STATE OF WASHINGTON.
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26                                    1
     DECLARATION OF CHRISTINA L. HENRY                                     DEVLIN LAW FIRM LLC
     REGARDING BOND FOR                                                    1526 Gilpin Avenue
     PRELIMINARY INJUNCTION                                                Wilmington, DE 19806
                                                                           Telephone: (302) 449-9010

     Case 25-01010-CMA         Doc 42      Filed 02/24/25      Ent. 02/24/25 15:55:57       Pg. 2 of 3
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     Executed this 24th day of February 2025 at Seattle, WA.
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                                            By: _/s/ Christina L Henry____________________
 6                                              Christina L Henry, WSBA #31273

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     DECLARATION OF CHRISTINA L. HENRY                              DEVLIN LAW FIRM LLC
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